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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §           CASE NO.2:10-CR-16-6 (TJW-CE)
                                                   §
 RAYMOND RAY DOTIE                                 §

               FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                    BEFORE THE UNITED STATES MAGISTRATE JUDGE

          Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

 administration of a plea of guilty and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

          On December 7, 2010, this cause came before the undersigned United States Magistrate

 Judge for a plea of guilty and allocution of the defendant in an information charging the defendant

 in Count 1 with a violation of 21 U.S.C. § 841 (a)(1), possession with intent to distribute crack

 cocaine. After conducting said proceeding in the form and manner prescribed by Fed. R. Crim. P.

 11, the court finds that:

          a.      the defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

 United States Magistrate Judge, subject to a final approval and imposition of sentence by the District

 Court;

          b.      the defendant and the government have entered into a plea agreement which has been

 filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(c)(2);

          c.      the defendant is fully competent and capable of entering an informed plea, that the

 defendant is aware of the nature of the charges and the consequences of the plea, and the plea of
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 guilty is a knowing and voluntary plea supported by an independent basis in fact containing each of

 the essential elements of the offense; and

        d.         the defendant understands his constitutional and statutory rights and wishes to waive

 these rights, including the right to a trial by jury and the right to appear before a United States

 District Judge.

        IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

 and the Guilty Plea of the defendant and that Raymond Ray Dotie should be finally adjudged guilty

 of that offense.

        At the close of the December 7, 2010 hearing, defendant, defense counsel, and counsel for

 the government each waived their right to object to the proposed findings and recommendations

 contained in this report. Therefore, the District Court may act on the findings and recommendation

 immediately.

        SIGNED this 8th day of December, 2010.




                                                         ___________________________________
                                                         CHARLES EVERINGHAM IV
                                                         UNITED STATES MAGISTRATE JUDGE




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